                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


STEVE JOHNSON, et al.                          )
                                               )
v.                                             ) NO. 3-11-0401
                                               ) JUDGE CAMPBELL
STATE FARM FIRE & CASUALTY                     )
COMPANY, et al.                                )



                                               ORDER

       Pending before the Court is Plaintiffs’ Motion to Stay Federal Court Proceedings (Docket

No. 12), to which no opposition has been filed. Plaintiffs ask the Court to stay this action, pending

resolution of a lawsuit involving the same subject matter in state court.

       Plaintiffs’ Motion is GRANTED, and this action is stayed, pending further Order of the

Court and subject to being reopened upon Motion of any party herein. The parties shall notify the

Court when the pending state litigation has been resolved.

       Defendants’ pending Motion to Dismiss (Docket No. 10) is denied without prejudice to being

re-filed if and when this action is reopened. The Clerk is directed to close the file administratively.

       IT IS SO ORDERED.


                                                       ___________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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